                          Case 2:07-cv-00191-LRS       Document 11        Filed 01/14/08

AO 450 (Rev. 5/85) Judgment in a Civil Case



            UNITED STATES DISTRICT COURT
                                    Eastern District of Washington
 Alan Conn


                                                                   JUDGMENT IN A CIVIL CASE
                                       v.
 Maggie Miller-Stout
                                                                   CASE NUMBER:    CV-07-191-LRS




     Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and the jury
     has rendered its verdict.

 ✘   Decision by Court. This action came to hearing before the Court. The issues have been
     heard and a decision has been rendered.

IT IS ORDERED AND ADJUDGED The Petition is DISMISSED Without Prejudice to properly
exhaust state court remedies by means of a Personal Restraint Petition.




01/14/08                                                   JAMES R. LARSEN
Date                                                       Clerk
                                                           s/ Vikki Johnson
                                                           (By) Deputy Clerk
                                                           Vikki Johnson
